 Case 3:18-cv-00428-DMS-MDD Document 118 Filed 07/17/18 PageID.2323 Page 1 of 5




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 Case 3:18-cv-00428-DMS-MDD Document 118 Filed 07/17/18 PageID.2324 Page 2 of 5




 1
                                 UNITED STATES DISTRICT COURT
 2                             SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                   Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                      STIPULATED EXTENSION OF TIME
           vs.                                        FOR DEFENDANTS TO ANSWER
 6                                                    PLAINTIFFS’ SECOND AMENDED
                                                      COMPLAINT
 7 U.S. IMMIGRATION AND CUSTOMS
   ENFORCEMENT, et al.,
 8
               Respondents-Defendants.
 9
10
           Respondents-Defendants, U.S. Immigration and Customs Enforcement, et al., have
11
     met and conferred with Petitioners-Plaintiffs, Ms. L., et al. The parties agree and stipulate,
12
     in the interests of proceeding with this litigation in the most orderly and efficient manner
13
     possible, to extend the time period for Respondent-Defendants to answer Petitioners-
14
     Plaintiffs second amended complaint. Accordingly, the parties hereby stipulate:
15
     Respondent-Defendants’ answer to the second amended complaint shall be due Thursday,
16
     August 16, 2018.
17
           A proposed order accompanies the joint stipulation.
18
19
     DATED: July 16, 2018                       Respectfully submitted,
20
21                                              /s/ Lee Gelernt
22                                              Lee Gelernt*
                                                Judy Rabinovitz*
23                                              Anand Balakrishnan*
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 Case 3:18-cv-00428-DMS-MDD Document 118 Filed 07/17/18 PageID.2325 Page 3 of 5




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 Case 3:18-cv-00428-DMS-MDD Document 118 Filed 07/17/18 PageID.2326 Page 4 of 5




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 8                              UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11 MS. L, et al.,                             Case No. 18cv428 DMS MDD
12                  Petitioners-Plaintiffs,
13        vs.                                 [PROPOSED] ORDER GRANTING
                                              JOINT STIPULATED EXTENSION OF
14 U.S. IMMIGRATION AND CUSTOMS               TIME FOR DEFENDANTS TO
   ENFORCEMENT, et al.,                       ANSWER PLAINTIFFS’ SECOND
15                                            AMENDED COMPLAINT
               Respondents-Defendants.
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17
          Before the Court is the parties’ Stipulated Extension of Time for Defendants to
18
     Answer Plaintiffs’ Second Amended Complaint. IT IS HEREBY ORDERED that
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     Respondent-Defendants answer to Plaintiffs’ second amended complaint shall be due
20
     Thursday, August 16, 2018.
21
22
     Dated:
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24
                                                    Hon. Dana M. Sabraw
25
                                                    United States District Judge
26
27
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